
EBEL, Circuit Judge,
concurring.
I agree with the result the majority reaches — Petitioner-Appellant Carl Case is not entitled to federal habeas relief. I write separately to express my frustration at the process by which we have made that determination. The majority notes that a state prisoner such as Case must pass through dual gateways before a federal court can consider the merits of his habeas claim asserted in a second or successive 28 U.S.C. § 2254 petition. In truth, we have required Case to pass through a three-part jurisdictional gauntlet.
Initially, this court, acting pursuant to 28 U.S.C. § 2244(b)(3)(C), authorized Case to pursue his Brady1 claim in a second § 2254 petition, after determining that Case had made a prima facie showing that he could meet the procedural requirements set forth in § 2244(b)(2)(B). That determination gave the district court jurisdiction to consider Case’s second § 2254 petition. See Burton v. Stewart, 549 U.S. 147, 149, 157, 127 S.Ct. 793, 166 L.Ed.2d 628 (2007) (per curiam). The district court, in turn, properly addressed whether Case had actually met § 2244(b)(2)(B)’s requirements. See 28 U.S.C. § 2244(b)(4) (“A district court shall dismiss any claim presented in a second or successive application that the court of appeals has authorized to be filed unless the applicant shows that the claim satisfies the requirements of this section.”) A district court “may not consider the merits of the claims alleged in the petition until” that court determines that the “application clears the hurdles erected by § 2244(b).” Brian R. Means, Federal Habeas Manual, 1049 (2012). In this case, after determining that Case had in fact cleared those procedural hurdles, the district court expended significant effort and resources addressing the merits of Case’s claim for habeas relief. On appeal from that decision, we have again reviewed de novo whether federal courts can consider the merits of Case’s habeas claim.
This duplicative expenditure of judicial resources runs counter to the purposes underlying the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”). Congress enacted AEDPA, not only to afford the appropriate respect for the finality of state court proceedings, but also with the intent to conserve judicial resources and to streamline the federal habeas process state prisoners can invoke to challenge those state proceedings. See Panetti v. Quarterman, 551 U.S. 930, 945-46, 127 S.Ct. 2842, 168 L.Ed.2d 662 (2007). Addressing at least three times, in two different courts, the question of whether a state prisoner can meet the procedural requirements for asserting a second or *1181successive habeas petition runs counter to those congressional interests in expediency. That is particularly true when both this court, albeit quickly and tentatively, and the district court, more conclusively, have determined that Case can meet those requirements and the district court has, therefore, gone forward with an extensive analysis of his constitutional claim for § 2254 relief.
I acknowledge that this court has once previously provided for this third occasion for review before moving on to consider the merits of a state prisoner’s habeas claim, although without first discussing whether we should do so. See Ochoa v. Workman, 669 F.3d 1130, 1140-43 (10th Cir.) (upholding district court’s determination that the state prisoner met § 2244(b)(2)(A)’s procedural requirements), cert. denied, — U.S. -, 133 S.Ct. 321, 184 L.Ed.2d 190 (2012). Nevertheless, at some point, this redundant, extensive and resource-intensive consideration of § 2244(b)(2)’s procedural requirements must cease, and federal courts should turn to the merits of the state prisoner’s habeas claim. That time, for me, would be here and now. I conclude, reaching the merits, that Case is not entitled to habeas relief on his Brady claim.
That being said, I agree with the majority’s analysis of § 2244(b)(2)(B)’s procedural requirements, with one minor exception. Although § 2244(b)(2)(B)(ii) restricts our consideration of new evidence of a state prisoner’s innocence to evidence that is directly linked to the constitutional claim he seeks to raise in his second or successive habeas petition, this represents a change from pre-AEDPA law. Before AEDPA, courts applying the actual-innocence exception to most procedural bars, see Sawyer v. Whitley, 505 U.S. 333, 338-39, 112 S.Ct. 2514, 120 L.Ed.2d 269 (1992), considered all the evidence a state prisoner could muster in support of his claim that he was factually innocent of the crime for which he was convicted. See Schlup v. Delo, 513 U.S. 298, 327-28, 115 S.Ct. 851, 130 L.Ed.2d 808 (1995); Kuhlmann v. Wilson, 477 U.S. 436, 454 n. 17, 106 S.Ct. 2616, 91 L.Ed.2d 364 (1986). Therefore, I would not rely on pre-AEDPA case law (including Sawyer, 505 U.S. 333, 112 S.Ct. 2514, as well as McCleskey v. Zant, 499 U.S. 467, 111 S.Ct. 1454, 113 L.Ed.2d 517 (1991), and Smith v. Murray, 477 U.S. 527, 106 S.Ct. 2661, 91 L.Ed.2d 434 (1986)) to support our conclusion that § 2244(b)(2)(B)(ii) restricts us to considering only new evidence that is directly linked to the state prisoner’s current habeas claim.

. Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963).

